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EXHIBIT C

 

 

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION

TAKODA HLAVATY, et al., §

Plaintiffs, §
vs. § Civil Action No. 5:16-cv-000949-RP
INTEGRATED PRODUCTION §
SERVICES, INC. §

Defendant. §

AFFIDAVIT OF SHAUNA CLARK

STATE OF TEXAS §
COUNTY OF COOKE §

Before me, the undersigned authority, on this day personally appeared Shauna Clark
known to me to be the person whose name is subscribed below and Who under oath did state the
following:

1. “My name is Shauna Clarlt. lam employed by Integrated Production Services,
Inc. (‘lPS’) as the Division Direetor of Hurnan Resourees in Gainesville, Texas
in the U.S. South Region. 1 arn duly authorized to make this Afiidavit and the
matters set forth below are true and correct and are within my own personal
knowledge

2. In my capacity as Division Director of Human Resources, I am familiar with the
current employment policies and practices of IPS. I also have access to the
employment policies and practices of IPS from previous years as they are kept
by the Company in the ordinary course of business, including the IPS Employee
I-Iandbool<.

3. Pursuant to Company policy, a copy of the IPS Employee Handbook is given to
Company employees to review at the time of their hire and any time the
Employee Handbook is revised during the course of their employment

4. From at least 2013, IPS has maintained a ‘Recording Worked Time’ written
policy and an ‘Overtime’ written policy in its Employee Handbook. The
‘Recording Worked Tirne’ policy provides that “hourly paid employees are
required to sign their timesheet submitted to their supervisor each pay period for
the hours worked acknowledging that the hours reported are true and correct to
the best of their knowledge and inclusive of all time worked.” Such policy

 

 

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Further, Affiant sayeth not.”

EXECUTED on February/ll, 2017.

ofFebruary, 2017.

 

further states that “falsifying worked hours is a violation of company policy and
will result in immediate termination.”

The “Overtime” policy provides in relevant part that “[an employee’s]
supervisor must authorize all overtime in advance.” The policy further states
that “Working unauthorized overtime is against Company policy violation of
this policy will result in disciplinary action up to and including termination.”
The policy also provides that “overtime pay (one and a half times your hourly
rate or applicable co-efticient overtime rate) will be earned after the employee
works forty (40) hours in a work week.”

Exhibit ‘C-l’ attached to this Affidavit is a true and correct copy of the relevant
excerpts from the 2013 IPS employee Handbook, which contains the above-
referenced policies on page 5. Exhibit ‘C-2’ attached to this Aftidavit is a true
and correct copy of the relevant excerpts from the 2014 IPS employee
Handbook, which contains the above-referenced policies on page 3. Exhibit ‘C-
3’ attached to this Aflidavit is a true and correct copy of the relevant excerpts
from the 2015 IPS employee Handbook, which contains the above-referenced
policies on page 3. `

The documents attached as Exhibits “C-l,’ ‘C-Q,’ and ‘C-3’ to this Aft`ldavit are
kept by IPS in the course of a regularly conducted business activity. It is a
regular business practice for an employee or representative of IPS with
knowledge of the act, event, eondition, or opinion to make such records. The
records attached was made at or near the time of the occurrence of the matters
set forth therein, or made reasonably soon thereafter, from information known or
transmitted by a person with knowledge of those matters The records attached
are exact duplicates of the original.

 

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Sepletllbst 16, 2019

 

 

 

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